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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

      UNITED STATES OF AMERICA,                  )
                                                 )
                                                 )
                           Plaintiff,            )
             v.                                  )
                                                 )
                                                 )
      WALTINE NAUTA, and                         )
      CARLOS DE OLIVEIRA,                        )
                                                 )
                           Defendants.           )
                                                 )

           THE UNITED STATES’ OPPOSITION TO DEFENDANTS’ EMERGENCY
          MOTION TO PRECLUDE THE GOVERNMENT FROM ISSUING VOLUME
                    TWO OF THE SPECIAL COUNSEL’S REPORT

             Pursuant to this Court’s January 13, 2025 Order (“January 13 Order”), ECF No.

      697, the United States submits this opposition to Defendants Nauta and De Oliveira’s

      “Emergency Motion to Preclude the Government from Issuing a Purported Special Counsel

      Report” (“Mot.” or “Motion”), ECF No. 679, as to Volume Two of Special Counsel Jack

      Smith’s Final Report.1 As explained further below, Defendants’ motion should be denied

      for two reasons. First, Defendants Nauta and De Oliveira cannot establish that the

      Department of Justice’s intention to make Volume Two of the Final Report available for

      in camera review by the Chairmen and Ranking Members of the House and Senate

      Judiciary Committees will cause Defendants any harm, much less irreparable harm as



      1
        Volume Two, which is the subject of this opposition, concerns the Special Counsel’s
      investigation and prosecution of defendants Nauta and De Oliveira, as well as President-
      elect Trump, relating to the mishandling of classified documents (Classified Documents
      Case).
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      required to obtain emergency relief. Second, Defendants cannot establish that injunctive

      relief is appropriate on the merits because this Court lacks the authority to intrude on the

      Attorney General’s prerogative to manage the Justice Department’s interactions with

      Congress, and there exists no other basis to enjoin the Department.

               For these reasons, the United States respectfully submits that Defendants’ Motion

      should be denied.

          I.      Defendants Have Not Established That Limited In Camera Review By Four
                  Members Of Congress Will Cause Defendants Any Harm.

               A party must establish irreparable harm to obtain injunctive relief. See Winter v.

      Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (“A plaintiff seeking a preliminary

      injunction must establish that he is likely to succeed on the merits, that he is likely to suffer

      irreparable harm in the absence of preliminary relief, that the balance of equities tips in his

      favor, and that an injunction is in the public interest.”); Alabama v. U.S. Army Corps of

      Eng’rs, 424 F.3d 1117, 1128 (11th Cir. 2005) (“[T]to obtain a permanent injunction, a party

      must show: (1) that he has prevailed in establishing the violation of the right . . . ; (2) there

      is no adequate remedy at law . . . ; and (3) irreparable harm will result if the court does not

      order injunctive relief.”). Defendants fail to make that showing here.

               a. Defendants’ primary contention in seeking injunctive relief has been that an

      injunction is necessary to prevent prejudice in the still-ongoing criminal case against them.

      Of course, that prosecution has been dismissed by this Court, and whether it will ever

      proceed is uncertain. In any event, the Department of Justice is committed to ensuring the

      integrity of the Department’s pending criminal prosecutions. To prevent the risk of

      prejudice to defendants Nauta and De Oliveira’s criminal case, the Attorney General has

      agreed with the Special Counsel’s recommendation that Volume Two of the Final Report


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      not be publicly released while the case against the defendants remains pending. See 28

      C.F.R. § 600.9(c). If permitted, however, the Attorney General does intend to make

      Volume Two of the Final Report available for in camera review to a limited number of

      members of Congress. Providing such information to Congress facilitates its ability to

      “legislate ‘wisely and effectively,’” while exercising oversight of Executive Branch

      agencies, see Trump v. Mazars USA, LLP, 591 U.S. 848, 862-63 (2020), and permits the

      Executive Branch to carry out its independent constitutional duty to recommend measures

      for congressional consideration, see U.S. Const. art. II, § 3.

             The Department has historically made materials available for in camera review by

      members of Congress as part of the process to accommodate the Executive Branch’s

      interests in protecting the confidentiality of sensitive information while ensuring that

      Congress can fulfil its own constitutional oversight functions. 2 For example, when a

      congressional committee sought FBI Form 302 interview reports referenced in the Final

      Report of Special Counsel Robert Mueller, the Department reached an agreement with the

      Committee to make those reports available in camera, at the Department, pursuant to

      specified terms, with redactions to protect privileged and grand jury information. See



      2
        Congress has recently, on multiple occasions, taken the position that it has a particularized
      legislative interest in information about Special Counsel investigations, in order to consider
      possible legislative reforms regarding the use of special counsels. See., e.g., Plaintiffs’
      Motion for Preliminary Injunction or, in the Alternative, for Expedited Summary Judgment
      at 43, Committee on the Judiciary, U.S. House of Representatives v. Garland, No. 1:24-cv-
      01911, ECF No. 11 (D.D.C. Aug. 16, 2024); Plaintiffs’ Motion for Preliminary Injunction
      or, in the Alternative, for Expedited Summary Judgment at 4, Committee on the Judiciary,
      U.S. House of Representatives v. Garland, No. 1:24-cv-01911, ECF No. 11 (D.D.C. Aug.
      16, 2024); Plaintiffs’ Motion for Preliminary Injunction or, in the Alternative, for
      Expedited Summary Judgment at 10, Committee on the Judiciary, U.S. House of
      Representatives v. Garland, No. 1:24-cv-01911, ECF No. 11 (D.D.C. Aug. 16, 2024).

      .
                                                    3
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      Supplemental Submission Regarding Accommodation Process ¶¶ 1-2, In re: Application

      of the Committee on the Judiciary, U.S. House of Representatives, No. 1:19-gj-00048-

      BAH, ECF No. 37 (D.D.C. October 8, 2019).

             Here, the Department intends to make Volume Two available for in camera review

      only by the Chairmen and Ranking Members of the House and Senate Judiciary

      Committees. The Chair and Ranking members of the Judiciary Committees would be

      required to agree to specified conditions of confidentiality. For example, they would not

      be permitted to retain a copy of Volume Two, to take notes, or to bring in any devices that

      could be used to photograph or communicate about the Volume. The review would also

      occur under the supervision of a Department of Justice official to ensure compliance with

      these restrictions. As a condition of viewing the report, they also would have to agree not

      to share information in Volume Two publicly. These precautions significantly reduce, if

      not eliminate, the chances of a prejudicial leak of information. 3

             For this reason, Defendants’ reliance (Mot. 8-10) on S.D. Fla. L.R. 77.2(a) is

      misplaced. That rule provides that attorneys may not “release or authorize the release of

      information or opinion which a reasonable person would expect to be disseminated by

      means of public communication, in connection with pending or imminent criminal

      litigation with which the lawyer or the firm is associated, if there is a reasonable likelihood

      that such dissemination will interfere with a fair trial or otherwise prejudice the due

      administration of justice.” Here, no reasonable person would expect that a limited and




      3
       Consistent with legal requirements, the version of the report prepared by the Special
      Counsel that the Department will make available in camera for congressional review (if
      permitted) redacts grand jury information protected by Rule 6(e) as well as information
      sealed by court order.
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      highly regulated in camera review by four members of Congress, contingent on their good

      faith commitment to confidentiality, would result in the dissemination of information

      contained in Volume Two by public communication or that a reasonable likelihood exists

      that such dissemination would interfere with a fair trial or otherwise prejudice the due

      administration of justice.

             Defendants speculate that despite the precautions the Department intends to take

      with respect to the in camera viewing of Volume Two by four members of Congress,

      prejudicial information might nonetheless be disclosed. They contend that if their currently

      dismissed prosecutions ever go forward, potentially disclosed information could be

      prejudicial. But this argument rests entirely on conjecture and disregards the options

      available to the Court to protect the Defendants from prejudice were this speculative chain

      of events to come to pass. Defendants cite no case in which a Court has issued an order

      comparable to the one they seek here—an order that forbids the Executive Branch from

      reaching an accommodation with Congress, a co-equal branch of government. There is

      thus no basis to judicially enjoin the proposed in camera congressional review of Volume

      Two.

             b.    Independently, Defendants cannot establish irreparable harm because

      Defendants could obtain relief—in the form of curative instructions or even dismissal or

      reversal of a conviction following any future prosecution—for any violation of their rights

      as criminal defendants caused by release of information from Volume Two. Cf. Deaver v.

      Seymour, 822 F.2d 66, 69-71 (D.C. Cir. 1987) (explaining that, “[b]ecause” federal

      criminal “defendants are already guaranteed access to a federal court,” they possess “a

      federal forum in which to assert their defenses—including those based on the



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      Constitution”).    Thus, even “[a]ssuming arguendo that” Defendants’ “contention is

      correct,” their “rights can be vindicated by a reversal of any conviction.” Id. at 71

      (collecting authorities); see also Deaver v. United States, 483 U.S. 1301, 1303 (1987)

      (Rehnquist, C.J., in chambers) (“There will be time enough for applicant to present his

      constitutional claim to the appellate courts if and when he is convicted of the charges

      against him.”). Because any harm to these criminal defendants caused by in camera

      congressional review of Volume Two can be cured by this Court when presiding over any

      future reinstated prosecution, that harm is not irreparable.

         II.      The Relief Defendants Seek Is Unnecessary And Contrary To Law.

               Defendants are also unable to show, as they must to obtain the injunctive relief they

      seek, a likelihood of success on the merits. An extended injunction intrudes on the

      Attorney General’s prerogative to manage the affairs of the Justice Department, including

      to determine whether to share with Congress in a limited respect a report prepared by

      subordinate officials within the Department, cf. 28 U.S.C. § 509. Justice Department

      regulations expressly authorize the Attorney General to “determine that public release” of

      a Special Counsel report “would be in the public interest,” 28 C.F.R. § 600.9(c), and to

      make a report to Congress upon the conclusion of a Special Counsel’s investigation, id.

      § 600.9(a). As explained in greater length in the United States’ opposition to defendants’

      motion in Case No. 24-12311 in the Eleventh Circuit, defendants offer no cognizable basis

      for restricting the Attorney Generals’ discretion in this regard. Indeed, the Eleventh Circuit

      already denied Defendants’ motion seeking this relief. See Order at 2, United States v.

      Nauta, No. 24-12311 (11th Cir. Jan. 9, 2025).

               Beyond the now-allayed concerns about prejudice to the Defendants from public

      disclosure of Volume Two in the Classified Documents Case, there is no plausible basis
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      for injunctive relief as to Volume Two. Defendants have argued at length that the Special

      Counsel was not, in fact, a valid Special Counsel, and therefore cannot prepare or transmit

      a valid Special Counsel report to the Attorney General. The United States has explained

      in its briefs before the Eleventh Circuit in Case No. 24-12311 the errors in these arguments.

      But, in any event, those arguments are irrelevant at this stage in light of the Special

      Counsel’s transmission of the Final Report to the Attorney General. All that is left is for

      the Attorney General to determine how to handle that report, and his authority in this

      respect is clear.

              Accordingly, even if the Special Counsel were invalidly appointed, it still would

      not follow that the Final Report was somehow improper. There can be no serious question

      that the Attorney General had, at a minimum, the statutory authority to hire Jack Smith and

      his staff as employees of the Department of Justice. See 5 U.S.C. § 3101. The Supreme

      Court has recognized that investigative reports can be prepared by individuals who have

      not been appointed as officers of the United States. See Buckley v. Valeo, 424 U.S. 1, 137

      (1976) (per curiam) (holding that non-officers can perform tasks of “an investigative and

      informative nature”). There is, therefore, no appointments-based reason to doubt Special

      Counsel Smith’s authority to draft a report summarizing the activities of his office—much

      less to prevent the Attorney General from receiving or disposing of that report under

      Department regulations.

              The Attorney General is the Senate-confirmed head of the Department of Justice

      and is vested with the authority to supervise all officers and employees of the Department.

      The Attorney General thus has authority to decide whether to release an investigative report

      prepared by his subordinates. That authority is inherent in the office of Attorney General,



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      cf. 28 U.S.C. § 509; it does not depend on the lawfulness of the Special Counsel’s

      appointment to take actions as an inferior officer of the United States or on the

      Department’s specific regulations authorizing the Attorney General to approve the public

      release of Special Counsel reports, see 28 C.F.R. § 600.9(c). Indeed, the Attorney General

      would have the authority to decide whether to publicly release a report prepared and

      provided to the Department by wholly private citizens. Defendants’ objections to the

      Special Counsel’s appointment thus simply have no bearing on the Attorney General’s

      authority here.

             Defendants’ invocation of the Presidential Transition Act is also misplaced. First,

      it is doubtful that Defendants have standing to raise any such claim. They are not

      personally affected by the Presidential Transition Act, and President-elect Trump is not a

      party to this case. The Act, moreover, contains no private right of action. Indeed, the

      portion Defendants invoke does not even impose binding restrictions. Section 2 provides

      merely that “it is the intent of the Congress that” federal officers “promote orderly

      transitions in the office of President.” 3 U.S.C. § 102 note (emphasis added) (Section 2 of

      the Presidential Transition Act). In any event, limited in camera review of Volume Two

      is in no way inconsistent with an “orderly transition[].” Id. The Attorney General has

      made clear that he will not publicly release Volume Two of the Final Report while

      Defendants’ case remains pending. To the extent Defendants have standing and a merits

      theory under the Presidential Transition Act to object to the release of the only portion of

      the Final Report that affects their interests, the Attorney General’s determination not to

      release Volume Two fully addresses any injury




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             As the government explained in opposing injunctive relief in Case No. 24-12311,

      Defendants’ other legal theories are equally baseless. See Plaintiff-Appellant’s Opposition

      to Motion for Injunction, United States v. Nauta, No. 24-12311, ECF No. 90 (11th Cir. Jan

      8, 2025).

                                          CONCLUSION

             For these reasons, this Court should deny Defendants’ “Emergency Motion to

      Preclude the Government from Issuing a Purported Special Counsel Report” (ECF No.

      679), and lift the Court’s January 13, 2025 temporary injunction (ECF No. 697), as to

      Volume Two of Special Counsel Jack Smith’s Final Report.



      Dated: January 14, 2025                         Respectfully submitted,

                                                      BRIAN M. BOYNTON
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                                                      _s/ Elizabeth J. Shapiro
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                                      CERTIFICATE OF SERVICE

                 I hereby certify that on January 14, 2025, I electronically filed the foregoing paper

       with the Clerk of the Court using the ECF system, which sends notice to all counsel of

       record.

                                                       /s/ Elizabeth J. Shapiro
                                                       Elizabeth J. Shapiro




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